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<!!l!>.AO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
                 Sheet 1
                                                                                                                       &S I f/N1     T ARKANSAS


                                          UNITED STATES DISTRICT COURT
                                                             Eastern District of Arkansas

           UNITED STATES OF AMERICA
                                 v.                                         (For Revocation of Probation or Supervised Release)
                 SCOTTIE LEE COSTNER

                                                                            Case No. 4:07cr00317-02 JMM
                                                                            USM No. 24818-009
                                                                             Lisa Peters
                                                                                                    Defendant's Attorney
THE DEFENDANT:
~admitted guilt to violation of condition(s)                General, Standard & Special of the term of supervision.
D was found in violation of condition(s)                  _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                            Violation Ended
General                               Failure to refrain from committing another crime                             12/05/2011

Standard 2                            Failure to submit monthly reports                                         02/01/2012

Special                               Failure to report for drug testing & substance abuse treatment            03/01/2012

Special                               Failure to attend mental health counseling                                01/13/2012

       The defendant is sentenced as provided in pages 2 through ---=3__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _..;.__and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
econollllc cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1597                         06/20/2012
                                                                                               Date of Imposition of Judgment
Defendant's YearofBirth:                1980

City and State of Defendant's Residence:                                                             Signature of Judge
Paragould, Arkansas
                                                                             James M. Moody                               US District Judge
                                                                                                   Name and Title of Judge

                                                                            06/20/2012
                                                                                                            Date
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  AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

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  DEFENDANT: SCOTTIE LEE COSTNER
  CASE NUMBER: 4:07cr00317-02 JMM


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS to run concurrent with 4:07cr251-01 JMM




     r/ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall partiicipate in whatever substance abuse treatment available.



     r/ The defendant is remanded to the custody of the United States Marshal.
     0   The defendant shall surrender to the United States Marshal for this district:
         0    at  - - - - - - - - - 0 a.m.                        0     p.m.    on
         0    as notified by the United States Marshal.

     0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         0    before 2 p.m. on
         0    as notified by the United States Marshal.
         0    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                               By
                                                                                            DEPUTY UNITED STATES MARSHAL
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 AO 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 3C - Supervised Release

                                                                                           Judgment-Page   _3_ of _ ____;3;;.___
 DEFENDANT: SCOTTIE LEE COSTNER
 CASE NUMBER: 4:07cr00317-02 JMM

                                             SPECIAL CONDITIONS OF SUPERVISION

1) The first six (6) months of supervised release the defendant shall reside in a residential reentry facility

2) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.

3) The defendant shall participate in mental health counseling under the guidance and supervision of the U.S. Probation
office.
